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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


United States of America
                  Plaintiffs,
      v.                                                   Crim. Action No. 06-911 (KSH)
David Kirkland
                 Defendants.                                          ORDER




Katharine S. Hayden, U.S.D.J.

       Defendant David Kirkland having filed a submission to the Court pro se (D.E. #62)

despite being represented by counsel; and for good cause shown,

       IT IS on this 9th day of June, 2008, hereby

       ORDERED that defendant’s submission, which was docketed as a motion to dismiss

(D.E. # 62), is hereby terminated.



                                                 /s/ Katharine S. Hayden

                                                 Katharine S. Hayden, U.S.D.J.
